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Case:17-03861-MCF11 Doc#:19 Filed:06/16/17 Entered:06/16/17 18:12:06   Desc: Main
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Case:17-03861-MCF11 Doc#:19 Filed:06/16/17 Entered:06/16/17 18:12:06   Desc: Main
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Case:17-03861-MCF11 Doc#:19 Filed:06/16/17 Entered:06/16/17 18:12:06   Desc: Main
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Case:17-03861-MCF11 Doc#:19 Filed:06/16/17 Entered:06/16/17 18:12:06   Desc: Main
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Case:17-03861-MCF11 Doc#:19 Filed:06/16/17 Entered:06/16/17 18:12:06   Desc: Main
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